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 2
                               UNITED STATES DISTRICT COURT
 3
                                      DISTRICT OF NEVADA
 4
 5   KRISTINA KERLUS,
                                                             Case No.: 2:24-cv-02352-NJK
 6           Plaintiff,
                                                                         Order
 7   v.
 8   JENNIFER CORNEAL, et al.,
 9           Defendants.
10          Pending before the Court is a motion to withdraw as counsel for Plaintiff. Docket No. 9.
11 Accordingly, Wolfgang Mueller, Antonio Romanucci, and Patrick Driscoll are ORDERED to file
12 a notice with the Court indicating who is representing Plaintiff by March 19, 2025. Further,
13 counsel for Plaintiff must file their pro hac vice application by March 19, 2025.
14          Plaintiff’s counsel must serve a copy of this order on Wolfgang Muller, Antonio
15 Romanucci, and Patrick Driscoll and must file a proof of service no later than March 17, 2025.
16          IT IS SO ORDERED.
17          Dated: March 14, 2025.
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19                                            _____________________________________
                                              NANCY J. KOPPE
20                                            UNITED STATES MAGISTRATE JUDGE
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